        Case 2:19-bk-14989-WB Doc 628 Filed 02/22/20 Entered 02/22/20 21:33:38                                                 Desc
                            Imaged Certificate of Notice Page 1 of 4
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-14989-WB
Scoobeez                                                                                                   Chapter 11
              Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: admin                        Page 1 of 2                          Date Rcvd: Feb 20, 2020
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 22, 2020.
db             +Scoobeez,   3463 Foothill Blvd.,   Glendale, CA 91214-1856

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 22, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 20, 2020 at the address(es) listed below:
              Akop J Nalbandyan    on behalf of Creditor Roy Anthony Catellanos jnalbandyan@LNtriallawyers.com,
               cbautista@LNtriallawyers.com
              Akop J Nalbandyan    on behalf of Interested Party    INTERESTED PARTY
               jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
              Anthony J Napolitano    on behalf of Creditor    Hillair Capital Management LLC
               anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
              Aram Ordubegian     on behalf of Interested Party    Courtesy NEF ordubegian.aram@arentfox.com
              Ashley M McDow    on behalf of Plaintiff    Scoobeez, Inc. amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobur LLC amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobeez amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Ashley M McDow    on behalf of Debtor    Scoobeez Global, Inc. amcdow@foley.com,
               sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
              Bradley E Brook    on behalf of Creditor Ardis Stephens bbrook@bbrooklaw.com,
               paulo@bbrooklaw.com;brookecfmail@gmail.com
              Bret D Lewis    on behalf of Creditor    Aroussiak and Garo Dekirmendijian as Trustees of the
               2/22/02 Derkirmendjian Family Trust Bretlewis@aol.com, bdlawyager@gmail.com
              Dare Law     on behalf of U.S. Trustee    United States Trustee (LA) dare.law@usdoj.gov
              Daren M Schlecter    on behalf of Creditor Sandra Collie daren@schlecterlaw.com,
               assistant@schlecterlaw.com
              David L. Neale    on behalf of Interested Party    Levene, Neale, Bender, Yoo & Brill L.L.P.
               dln@lnbyb.com
              David L. Neale    on behalf of Creditor Committee    Official Committee of Unsecured Creditors
               dln@lnbyb.com
              David L. Neale    on behalf of Attorney    Official Committee Of Unsecured Creditors dln@lnbyb.com
              Eric D Winston    on behalf of Creditor    Hillair Capital Management LLC
               ericwinston@quinnemanuel.com
              Eric D Winston    on behalf of Creditor    Hillair Capital Management, LLC
               ericwinston@quinnemanuel.com
              Eric K Yaeckel    on behalf of Creditor Arturo Vega yaeckel@sullivanlawgroupapc.com
              Gregory M Salvato    on behalf of Interested Party    INTERESTED PARTY
               gsalvato@salvatolawoffices.com,
               calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
              Gregory M Salvato    on behalf of Creditor Azad Baban gsalvato@salvatolawoffices.com,
               calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
              Hamid R Rafatjoo    on behalf of Creditor Shahan Ohanessian hrafatjoo@raineslaw.com,
               bclark@raineslaw.com;cwilliams@raineslaw.com
              Jeffrey S Shinbrot    on behalf of Creditor Shahan Ohanessian jeffrey@shinbrotfirm.com,
               sandra@shinbrotfirm.com
      Case 2:19-bk-14989-WB Doc 628 Filed 02/22/20 Entered 02/22/20 21:33:38                        Desc
                          Imaged Certificate of Notice Page 2 of 4


District/off: 0973-2          User: admin                 Page 2 of 2                  Date Rcvd: Feb 20, 2020
                              Form ID: pdf042             Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jennifer L Nassiri    on behalf of Creditor    Hillair Capital Management, LLC
               jennifernassiri@quinnemanuel.com
              Jennifer L Nassiri    on behalf of Creditor    Hillair Capital Management LLC
               jennifernassiri@quinnemanuel.com
              John-Patrick M Fritz    on behalf of Interested Party    Levene, Neale, Bender, Yoo & Brill L.L.P.
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Plaintiff    Official Committee of Unsecured Creditors of the
               Estates of Scoobeez and Scoobeez Global, Inc. jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Attorney    Official Committee Of Unsecured Creditors
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              Kevin H Morse    on behalf of Creditor    Avitus Group, Inc. kmorse@clarkhill.com,
               blambert@clarkhill.com
              Kimberly Walsh     on behalf of Creditor    Texas Comptroller of Public Accounts
               bk-kwalsh@texasattorneygeneral.gov
              Michael Jay Berger    on behalf of Interested Party Sean McNair
               michael.berger@bankruptcypower.com,
               yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
              Rejoy Nalkara     on behalf of Creditor    BMW Financial Services NA, LLC, c/o AIS Portfolio
               Services, LP rejoy.nalkara@americaninfosource.com
              Richard T Baum    on behalf of Stockholder    Rosenthal Family Trust rickbaum@hotmail.com,
               rickbaum@ecf.inforuptcy.com
              Richard W Esterkin    on behalf of Creditor    Amazon Logistics, Inc.
               richard.esterkin@morganlewis.com
              Richard W Esterkin    on behalf of Defendant    Amazon Logistics, Inc.
               richard.esterkin@morganlewis.com
              Riebert Sterling Henderson    on behalf of Interested Party    Courtesy NEF
               shenderson@gibbsgiden.com
              Sean A OKeefe    on behalf of Plaintiff    Scoobeez, Inc. sokeefe@okeefelc.com, seanaokeefe@msn.com
              Sean A OKeefe    on behalf of Plaintiff    Scoobeez Global, Inc. sokeefe@okeefelc.com,
               seanaokeefe@msn.com
              Sean A OKeefe    on behalf of Debtor    Scoobeez sokeefe@okeefelc.com, seanaokeefe@msn.com
              Shane J Moses    on behalf of Plaintiff    Scoobeez, Inc. smoses@foley.com, vgoldsmith@foley.com
              Shane J Moses    on behalf of Debtor    Scoobeez smoses@foley.com, vgoldsmith@foley.com
              Stacey A Miller    on behalf of Creditor    Porsche Financial Services, Inc. dba Bentley Financial
               Services smiller@tharpe-howell.com
              Stacey A Miller    on behalf of Creditor    Porsche Financial Services, Inc.
               smiller@tharpe-howell.com
              Stacey A Miller    on behalf of Creditor    Porsche Leasing Ltd. smiller@tharpe-howell.com
              Steven M Spector    on behalf of Creditor    Hillair Capital Management LLC sspector@buchalter.com,
               IFS_efiling@buchalter.com;salarcon@buchalter.com
              United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
              Vivian Ho     on behalf of Creditor    FRANCHISE TAX BOARD BKClaimConfirmation@ftb.ca.gov
                                                                                               TOTAL: 47
Case 2:19-bk-14989-WB Doc 628 Filed 02/22/20 Entered 02/22/20 21:33:38                              Desc
                    Imaged Certificate of Notice Page 3 of 4

          MICHAEL JAY BERGER (State Bar # 100291)
     1    LAW OFFICES OF MICHAEL JAY BERGER
          9454 Wilshire Boulevard, 6th Floor
     2    Beverly Hills, California 90212
          T: 1.310.271.6223 | F: 1.310.271.9805                        FILED & ENTERED
     3    E: michael.berger@bankruptcypower.com
     4    Counsel for Creditor,                                                FEB 20 2020
          Sean McNair
     5
                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                          Central District of California
     6                                                                    BY kaaumoanDEPUTY CLERK

     7                          UNITED STATES BANKRUPTCY COURT
                                                                 CHANGES MADE BY COURT
     8
                                 CENTRAL DISTRICT OF CALIFORNIA
     9
                                         LOS ANGELES DIVISION
    10
    11 In re:                                     )          Case No.: 2:19-bk-14989-WB
                                                  )
    12                                            )          Chapter 11
                                                  )
    13 SCOOBEEZ, et al.,                          )          Jointly Administered with Case Nos.:
                                                  )          2:19-bk-14991-WB
    14                                                       2:19-bk-14997-WB
               Debtors and Debtors-in-Possession. )
                                                  )
    15                                            )          ORDER GRANTING MOTION TO
                                                  )          APPROVE STIPULATION
    16                                            )          REGARDING RELIEF FROM
                                                  )          AUTOMATIC STAY UNDER 11 U.S.C.
    17                                            )          SECTION 362 (ACTION IN NON-
                                                  )          BANKRUPTCY FORUM)
    18                                            )
                                                  )          [Hearing Not Required Unless Requested]
    19                                            )
    20
                &UHGLWRU6HDQ0F1DLU KHUHLQDIWHUWKH³&UHGLWRU´ , having filed his Motion to
    21
         Approve Stipulation Regarding Relief from Automatic Stay under 11 U.S.C. Section 362
    22
         (Action Non-Bankruptcy Forum) with the Court on January 22, 2020 (docket no. 561) and
    23
         it appearing that the proposed stipulation is in the best interest of the estate, and that notice
    24
         of the Motion was proper and there being no oppositions to the Motion, and good cause
    25
         appearing,
    26
         ///
    27
         ///
    28
                                                         1
          ORDER GRANTING MOTION TO APPROVE STIPULATION REGARDING RELIEF FROM AUTOMATIC STAY UNDER
                            11 U.S.C. SECTION 362 (ACTION IN NON-BANKRUPTCY FORUM)
Case 2:19-bk-14989-WB Doc 628 Filed 02/22/20 Entered 02/22/20 21:33:38                Desc
                    Imaged Certificate of Notice Page 4 of 4


     1          IT IS HEREBY ORDERED that:
     2      1. Motion to Approve Stipulation Regarding Relief from Automatic Stay under 11
     3          U.S.C. Section 362 (Action Non-Bankruptcy Forum) is granted.
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    24   Date: February 20, 2020
    25
    26
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    28
                                                    2
          ORDER GRANTING MOTION TO APPROVE STIPULATION REGARDING RELIEF FROM AUTOMATIC STAY UNDER
                            11 U.S.C. SECTION 362 (ACTION IN NON-BANKRUPTCY FORUM)
